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                            EXHIBIT 1
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                                   Exhibit 1
                      Attorneys’ Fees Incurred by Payoneer

                                  By Timekeeper


   Timekeeper         Position       Hours          Rate           Fees
McNabnay, Neil J.     Principal        26.6        $895.00         $23,807.00
Anderson, Jeremy      Principal         8.9        $815.00          $7,253.50
Conrad, David B.      Principal         9.9        $845.00          $8,365.50
Bonilla, Ricardo J.   Associate        22.3        $730.00         $16,279.00
Vincent, Michael      Associate       101.2        $435.00         $44,022.00

                                                  TOTAL          $99,727.00
